           Case 2:08-cr-00082-RSL        Document 841      Filed 11/21/16    Page 1 of 3




 1
 2
 3
 4
 5
                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 7
 8    UNITED STATES OF AMERICA,

 9                         Plaintiff,                         No. CR08-82RSL

10                  v.
                                                              ORDER GRANTING MOTION
11    SHAWN VANELL PIPER,                                     TO REDUCE SENTENCE
                                                              BASED ON 2014 AMENDMENT
12                         Defendant.                         TO DRUG-QUANTITY
                                                              SENTENCING GUIDELINE
13                                                            (AMENDMENT 782) PURSUANT
                                                              TO 18 U.S.C. § 3582
14
15
            This matter comes before the Court on defendant’s unopposed motion to reduce his
16
     sentence pursuant to 18 U.S.C. § 3582. Dkt. # 832. Having reviewed defendant’s briefing and
17
     the relevant record, the Court finds as follows.
18
            In August 2008, defendant Shawn Vanell Piper entered into a plea agreement with the
19
     government pursuant to Fed. R. Crim. P. 11(c)(1)(C). Defendant pled guilty to one count of
20
     possession of crack cocaine with intent to distribute (under 21 U.S.C. §§ 841(a), 841(b)(1)(A))
21
     and one count of felon in possession of a firearm (under 18 U.S.C. § 922(g)). The parties agreed
22
     to a sentencing range of 156 to 204 months’ imprisonment. Dkt. # 258, ¶¶ 7–8.
23
            At sentencing, the Court and the parties agreed that defendant’s offense level under the
24
     United States Sentencing Guidelines corresponded to a recommended Guidelines range of 168 to
25
26   ORDER GRANTING MOTION TO
     REDUCE SENTENCE PURSUANT
     TO 18 U.S.C. § 3582
           Case 2:08-cr-00082-RSL         Document 841     Filed 11/21/16     Page 2 of 3




 1   210 months’ imprisonment. Dkt. # 734 at 32. Looking to the parties’ plea agreement and the
 2   factors listed at 18 U.S.C. § 3553(a), the Court sentenced defendant to 156 months’
 3   imprisonment, plus five years of supervised release. Dkt. # 734 at 40.
 4          In November 2014, the United States Sentencing Commission reduced the recommended
 5   penalties for most drug offenses by lowering the offense levels on the 2D1.1 Drug Quantity
 6   Table. The Sentencing Commission further established that this reduction could be applied
 7   retroactively through proceedings initiated under 18 U.S.C. § 3582(c)(2), which authorizes
 8   courts to reduce a previously imposed sentence in light of subsequent amendments to the
 9   Sentencing Guidelines. Despite these developments, however, defendant was ineligible for
10   resentencing under 18 U.S.C. § 3582(c)(2): at the time, Ninth Circuit case law held that
11   sentences imposed pursuant to Rule 11 plea agreements were not “based on” the Guidelines, and
12   thus were not subject to modification under 18 U.S.C. § 3582(c)(2). See United States v. Austin,
13   676 F.3d 924, 930 (9th Cir. 2012).
14          In June 2016, the Ninth Circuit overruled Austin and held that sentences imposed
15   pursuant to Rule 11 plea agreements were, in fact, “based on” the Guidelines, and thus eligible
16   for modification under 18 U.S.C. § 3582(c)(2). United States v. Davis, 825 F.3d 1014, 1027 (9th
17   Cir. 2016) (en banc). Defendant moved to reduce his sentence in August 2016. Dkt. # 832. On
18   October 21, 2016, the Court denied the government’s request for a stay and re-noted defendant’s
19   motion to give the government an opportunity to respond on the merits. Dkt. # 840.
20          The government has not opposed defendant’s motion to reduce his sentence. It has
21   conceded that, under Davis, defendant “is legally eligible for a [18 U.S.C. § 3582(c)(2)]
22   reduction,” and that, per the amended Guidelines, defendant’s new recommended range is 135 to
23   168 months. Dkt. # 835 at 7.
24
25
26   ORDER GRANTING MOTION TO
     REDUCE SENTENCE PURSUANT
     TO 18 U.S.C. § 3582                            -2-
           Case 2:08-cr-00082-RSL      Document 841       Filed 11/21/16    Page 3 of 3




 1         Accordingly, defendant’s motion to reduce his sentence pursuant to 18 U.S.C. § 3582
 2   (Dkt. # 832) is GRANTED. The Court will contact the parties to schedule resentencing.
 3
 4         Dated this 21st day of November, 2016.
 5
 6                                                   A
                                                     Robert S. Lasnik
 7                                                   United States District Judge
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26   ORDER GRANTING MOTION TO
     REDUCE SENTENCE PURSUANT
     TO 18 U.S.C. § 3582                            -3-
